Case 2:04-cV-02791-.]DB-tmp Document6 Filed 05/09/05 Pagelof 10 Page|DJ/S

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FOR THE WESTERN DISTRICT oF TENNESSEE U§HQY~Q PH{Q:U?
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PERRY J. LIPSEY,
Plaintiff,
vs. No. 04-2?91-B/P

CORRECTIONS CORPORATION
OF AMERICA, et al.,

Defendants.

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ORDER TO COMPLY WITH PLRA
ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Plaintiff Perry J. Lipsey, an inmate at the Federal
Correctional Center (FCC),1 in Forrest City, Arkansas, who was
formerly confined at the West Tennessee Detention Facility (WTDF),
filed a complaint on the form used for actions under 42 U.S.C. §
l983. Because Lipsey is a federal prisoner, however, the Court
construes his complaint as one under Bivens v. Six Unknown Fed.
Agents, 403 U.S. 388 (1971). The Clerk of Court shall file the

case and record the defendants as Corrections Corporation of

 

l The word prison is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

Thls document entered on the docket sheet ln com fiance
wnh mae 55 and/or azrbz mch on §_JL' \ \ ‘ (D

Case 2:04-cV-02791-.]DB-tmp Document 6 Filed 05/09/05 Page 2 of 10 Page|D 4

America, Ms. Sullivan, and Ms. Ferry.2 Plaintiff also filed a
motion for leave to proceed ip fp;ma pauperis.
I. ASSESSMENT OF FILING FEE

Under the Prison Litigation Reform Act of 1995 (the “PLRA”),
28 U.S.C. § 1915(b), any prisoner bringing a civil action must pay
the full filing fee of $lBO required by 28 U.S.C. § 1914(a). The
ip fp;ma pauperis statute, 28 U.S.C. § 1915(a), merely provides the
prisoner` the opportunity to znake a "downpayment" of aa partial
filing fee and pay the remainder in installments.

ln this case, plaintiff has not properly completed and
submitted both an pp fppma pauperis affidavit and a prison trust
fund account statement showing:

l) the average monthly deposits, and
2) the average monthly balance

for the six months prior to submission of the complaint, and

3) the account balance when the complaint was submitted.

Pursuant to 28 U.S.C. § 1915(b)(l), it is ORDERED that the
plaintiff cooperate fully with prison officials in carrying out
this order. lt is ORDERED that within thirty (30) days of the
entry of this order the plaintiff properly complete and file both
an ip fprma pauperis affidavit and a trust fund account statement
showing the above amounts. lt is further ORDERED that the trust
fund officer at plaintiff's prison shall calculate a partial

initial filing fee equal to twenty percent (20%) of the greater of

 

2 Plaintiff also named the WTDF as a defendant. The WTDF is not a

suable entity, therefore, the Clerk is directed to remove from the docket all
references to the WTDF as a defendant.

Case 2:04-cV-02791-.]DB-tmp Document 6 Filed 05/09/05 Page 3 of 10 Page|D 5

the average balance in or deposits to the plaintiff's trust fund
account for the six months immediately preceding the completion of
the affidavit. When the account contains any funds, the trust fund
officer shall collect them and pay them directly to the Clerk of
Court. lf the funds in plaintiff's account are insufficient to pay
the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the
plaintiff's account and forward them to the Clerk of Court. On
each occasion that funds are subsequently credited to plaintiff's
account the prison official shall immediately withdraw those funds
and forward them to the Clerk of Court, until the initial partial
filing fee is paid in full.

lt is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff's account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff's account during the preceding month, but only when the
amount in the account exceeds $10.00, until the entire 5150.00
filing fee is paid.

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

Case 2:04-cV-02791-.]DB-tmp Document 6 Filed 05/09/05 Page 4 of 10 Page|D 6

and shall clearly identify plaintiff's name and the case number on
the first page of this order.

lf plaintiff is transferred to a different prison or released,
he is ORDERED to notify the Court immediately of his change of
address. lf still confined he shall provide the officials at the
new prison with a copy of this order.

lf the plaintiff fails to abide by these or any other
requirements of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff's
prison.

The obligation to pay this filing fee shall continue despite
the immediate dismissal of this case. 28 U.S.C. § l9lB(e)(2). The
Clerk shall not issue process or serve any papers in this case.
Il. ANALYSIS OF PLAINTIFF'S CLAIMS

Lipsey sues the Corrections Corporation of America, WTDF
Supervisor Ms. Sullivan, and Nurse Ferry for medical malpractice
arising from their bad decisions about his medical care. Plaintiff
alleges that the defendants did not use good judgment regarding his
medication. He also alleges that defendant Sullivan did not take
him to Baptist Hospital for his follow-up examination. Attached to
the complaint is an additional list of complaints, including delays
in receiving medication, failure to provide medical care, failure

to take him to the right hospital, bloodwork drawn for no reason,

Case 2:04-cV-02791-.]DB-tmp Document 6 Filed 05/09/05 Page 5 of 10 Page|D 7

and lost medical records. Lipsey attached copies of sick call
forms to his complaint. Plaintiff alleges in the body of the
complaint that he talked to Ms. Cary and the assistant warden,
filed grievances, and received no result. However, he has attached
a copy of an inmate grievance form regarding “poor medical service”
which demonstrates that grievance officer determined that plaintiff
was not compliant with his “medication regime,” was “no longer on
meds per [plaintiff's] choice,” and that plaintiff was not taken to
Baptist because the doctor determined a vreturn visit was not
necessary. Plaintiff appealed the response to the Warden who
responded that he “can not override a medical decision.”

The Supreme Court held in Correctional Servs. Corp. v.
Malesko, 534 U.S. 61 (2001), that Bivens actions may not be
maintained against corporate defendants. Accordingly,_construing
the compliant under Bivens, plaintiff fails to state a claim
against defendant CCA upon which relief may be granted.

The Eighth Amendment prohibits cruel and unusual punishment.
See generally Wilson v. Seiter, 501 U.S. 294 (1991). Under the
Supreme Court decision of Estelle v. Gamble, 429 U.S. 97, 104
(1976), “deliberate indifference to serious medical needs of
prisoners constitutes the ‘unnecessary and wanton infliction of
pain,’ ... proscribed by the Eighth Amendment.” However, not
“every claim fur a prisoner that he has not received adequate
medical treatment states a violation of the Eighth Amendment.”
Estelle, 429 U.S. at 105. “In order to state a cognizable claim,

a prisoner must allege acts or omissions sufficiently harmful to

Case 2:04-cV-02791-.]DB-tmp Document 6 Filed 05/09/05 Page 6 of 10 Page|D 8

evidence deliberate indifference to serious medical needs. lt is
only such indifference that can offend ‘evolving standards of
decency' in violation of the Eighth Amendment.” ldp

An Eighth Amendment claim consists of objective and subjective
components. Farmer v. Brennan, 511 U.S. 825, 834 (1994); Hudson v.
McMillian, 503 U.S. l, 8 (1992); Wilson, 501 U.S. at 298; Brooks v.

Celeste, 39 F.3d 125, 127-28 (6th Cir. 1994); Hunt v. Reynolds, 974

F.2d 734, 735 (6th Cir. 1992). The objective component requires
that the deprivation be "sufficiently serious." Farmer, 511 U.S.

at 834; Hudson, 503 U.S. at 8; Wilson, 501 U.S. at 298. The
subjective component requires that the official act with the
requisite intent, that is, that he have a "sufficiently culpable
state of mind." Farmer, 511 U.S. at 834; Wilson, 501 U.S. at 297,
302-03. The official's intent must rise at least to the level of
deliberate indifference. §g;mep, 511 U.S. at 834; Hilspp, 501 U.S.
at 303.

Within the context of Estelle claims, the objective component

requires that the medical need be sufficiently serious. Hunt v.
Reynolds, 974 F.Zd 734, 735 (6th Cir. 1992). “A medical need is

serious if it is one that has been diagnosed by a physician as
mandating treatment or one that is so obvious that even a lay
person would easily recognize the necessity for a doctor's
attention." Ramos v. Lamm, 639 F.Zd 559, 575 (lOth Cir.
1980)(quoting Laaman v. Helgemoe, 437 F. Supp. 269, 311 (D.N.H.

1977)).

Case 2:04-cV-02791-.]DB-tmp Document 6 Filed 05/09/05 Page 7 of 10 Page|D 9

To make out a claim of an Eighth Amendment Estelle violation,
a prisoner must plead facts showing that “prison authorities have
denied reasonable requests for medical treatment in the face of an
obvious need for such attention where the inmate is thereby exposed

to undue suffering or the threat of tangible residual injury."

 

Westlake v. Lucas, 537 F.2d 857, 860 (6th Cir. 1976). The Court
clarified7 the meaning of deliberate indifference in Farmer \L
Brennan, as the reckless disregard of a substantial risk of serious
harm; mere negligence will not suffice. ldp 511 U.S. at 835-36.
Consequently, allegations of medical malpractice or negligent
diagnosis and treatment fail to state an Eighth Amendment claim of
cruel and unusual punishment. §pp Estelle, 429 U.S. at 106.
Plaintiff does not provide any allegations demonstrating that
anyone was deliberately indifferent to his medical needs. He
admits, and his attachments reflect, that he has received medical
evaluation and treatment at the WTDF. Even if medical personnel
were negligent in their evaluation and treatment of plaintiff,
their error would amount at most to medical malpractice. “[A]
complaint that a physician has been negligent in diagnosing or
treating a lnedical condition7 does not state a 'valid clain\ of
medical mistreatment under the Eighth Amendment. Medical
malpractice does not become a constitutional violation7 merely
because the victim is a prisoner.” §pppll§, 429 U.S. at 105-06.
The complaint simply does not allege any facts supporting a claim

that the Eighth Amendment was violated.

Case 2:04-cV-02791-.]DB-tmp Document 6 Filed 05/09/05 Page 8 of 10 Page|D 10

Accordingly, plaintiff's complaint fails to state a claim upon
which relief may be granted and is, therefore, DlSMlSSED pursuant
to 28 U.S.C. § 1915(e)(2)(B)(ii).

lll. APPEAL ISSUES

 

The next issue to be addressed is whether plaintiff should be
allowed to appeal this decision ip fpipp pauperis. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip
ipimp pauperis if the trial court certifies in writing that it is
not taken in good faith.

The good faith standard is an objective one. §pp Coppedge v.
United States, 369 U.S. 438, 445 (1962}. lt would be inconsistent
for a district court to determine that a complaint which fails to
state a claim upon which relief may be granted has sufficient merit
to support an appeal ip fpipp pauperis. Accordingly, the same
considerations that lead the Court to dismiss this case for failure
to state a claim also compel the conclusion that an appeal would
not be taken in good faith.

lt is therefore CERTlFlED, pursuant to 28 U.S.C. § 1915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith, and plaintiff may not proceed on appeal ip ipimp pauperis.

The final matter to be addressed is the assessment of a filing
fee if plaintiff appeals the dismissal of this case. The United
States Court of Appeals for the Sixth Circuit has held that a
certification that an appeal is not taken in good faith does not
affect an indigent prisoner plaintiff's ability to take advantage

of the installment procedures contained in § l915(b). See McGore

 

Case 2:04-cV-02791-.]DB-tmp Document 6 Filed 05/09/05 Page 9 of 10 Page|D 11

v. Wrigglesworth, 114 F.3d 601,r 610-11 (6th Cir. 1997). McGore
sets out specific procedures for implementing the PLRA. Therefore,
the plaintiff is instructed that if he wishes to take advantage of
the installment procedures for paying the appellate filing fee,3he
must comply with the procedures set out in McGore and § 1915(b).
For analysis under 28 U.S.C. § 1915(g) of future filings, if
any, by this plaintiff, this is the first dismissal in this

district of one of his cases for failure to state a claim.

iT rs so oRDERED this é$ day cf ay, 2005.

fla

. ANIEL BREEN
NI ED STATES DISTRICT JUDGE

 

 

3 The fee for docketing an appeal is $250. See Judicial Conference

Schedule of Fees, l 1, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court,r by the appellant
or petitioner.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-02791 Was distributed by fax, mail, or direct printing on
May l 1, 2005 to the parties listed.

 

Perry Lipsey
FCC-FORREST CITY
19436-076

P.O. Box 9000

Forrest City, AR 72336

Honorable J. Breen
US DISTRICT COURT

